Case 0:22-cv-61067-RAR Document 32 Entered on FLSD Docket 03/07/2023 Page 1 of 8



                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO. 22-CV-61067-RAR

 POLAR VORTEX, LLC,

        Plaintiff,

 vs.

 CERTAIN UNDERWRITERS AT LLOYD’S,
 LONDON SUBSCRIBING TO POLICY
 YHL1700840,

        Defendant.
                                                     /

                     DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
                        AND SUPPORTING MEMORANDUM OF LAW

        The      Defendant,     CERTAIN        UNDERWRITERS             AT     LLOYD’S,         LONDON

 SUBSCRIBING TO POLICY YHL1700840, by and through undersigned counsel and pursuant to

 Fed. R. Civ. P. 56 Local Rule 56.1 and the Court’s Order extending the time to file motions for summary

 judgment [ECF 25], respectfully files its Motion for Summary Judgment and Supporting Memorandum of Law

 and moves the Court for entry of summary final judgment in its favor and against the Plaintiff as a

 matter of law, and as grounds therefor, states as follows:

 Summary Judgment Standard:

        Federal Rule of Civil Procedure 56 provides, “summary judgment is appropriate where

 there ‘is no genuine issue as to any material fact’ and the moving party is ‘entitled to judgment as a

 matter of law.’” Fed.R.Civ.P. 56; see also, Alabama v. N. Carolina, 130 S. Ct. 2295, 2308 (2010)

 (quoting Fed.R.Civ.P. 56(a)). The existence of some factual disputes between litigants will not

 defeat an otherwise properly ground motion for summary judgment; “the requirement is that there

 be no genuine issue of material fact.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986)


                                          HORR, SKIPP, & PEREZ, P.A.
               TWO DATRAN CENTER, SUITE 1700 – 9130 SOUTH DADELAND BOULEVARD, MIAMI, FL 33156
Case 0:22-cv-61067-RAR Document 32 Entered on FLSD Docket 03/07/2023 Page 2 of 8



 (emphasis added). Mere “metaphysical doubt as to the material facts” will not suffice. Matsushita

 Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986).

        Federal Rule of Civil Procedure 56 "requires the nonmoving party to go beyond the

 pleadings and[,] by her own affidavits, or by the depositions, answers to interrogatories, and

 admissions on file, designate specific facts showing that there is a genuine issue for trial." Celotex

 Corp. v. Catrett, 477 U.S. 317, 324, 106 S. Ct. 2548, 91 L. Ed. 2d 265 (1986) (internal quotation

 marks omitted).

        Where the nonmoving party has the burden of proof on an element, the moving party is

 entitled to summary judgment if the nonmoving party fails to make a sufficient showing on an

 essential element of her case.      See United States v. Four Parcels of Real Prop., 941 F.2d

 1428, 1438 (11th Cir. 1991).


 Choice of Law:

         The Court has already ruled that the choice of law provision in the policy is enforceable.

  ECF 37. The choice of law clause states:

                It is hereby agreed that any dispute arising hereunder shall be
                adjudicated according to well established, entrenched principles and
                precedents of substantive United States Federal Admiralty law and
                practice but where no such well established, entrenched precedent
                exists, this insuring agreement is subject to the substantive laws of
                the State of New York.

  See Exhibit 1, page 6 of 9.

        As such, Federal Admiralty law governs this controversy, and where there is no well-

  entrenched precedent under Admiralty law, the laws of the State of New York shall apply.

 Plaintiff’s Complaint is Time-Barred as a Matter of Law

         The subject policy contains a valid and enforceable limitations period shortening the time

  to file claims against Underwriters to one year “from the date of the happening or the occurrence

                                          HORR, SKIPP, & PEREZ, P.A.
               TWO DATRAN CENTER, SUITE 1700 – 9130 SOUTH DADELAND BOULEVARD, MIAMI, FL 33156
Case 0:22-cv-61067-RAR Document 32 Entered on FLSD Docket 03/07/2023 Page 3 of 8



  out of which the claim arose.” The subject policy was issued to the Plaintiff in the United States

  Virgin Islands, which statutorily allows an insurer to shorten the time period for bringing suit

  against the insurer to not less than one year. 22 V.I.C. § 820.

        Under New York law, “[a]n agreement which modifies the Statute of Limitations by

 specifying a shorter, but reasonable, period within which to commence an action is enforceable”

 Exec. Plaza, LLC v. Peerless Ins. Co., 22 N.Y.3d 511, 5 N.E.3d 989 (2014); quoting John J.

 Kassner & Co. v. City of New York, 46 N.Y.2d 544, 551, 415 N.Y.S.2d 785, 389 N.E.2d 99 (1979);

 See also Brandyce v. Globe & Rutgers Fire Ins. Co., 252 N.Y. 69, 168 N.E. 832 (1929); Sapinkopf

 v Cunard S.S. Co., Ltd., 254 NY 111, 114, 172 NE 259 (1930); Gilbert Frank Corp. v. Federal Ins.

 Co., 70 N.Y.2d 966, 967–968, 525 N.Y.S.2d 793, 520 N.E.2d 512; Blitman Constr. Corp. v.

 Insurance Co. of N. Am., 66 N.Y.2d 820, 822, 498 N.Y.S.2d 349, 489 N.E.2d 236; Brown v. Royal

 Ins. Co. of Am., 210 A.D.2d 279, 279, 620 N.Y.S.2d 399; D'Angelo v. Allstate Ins. Co., 126 A.D.3d

 931, 6 N.Y.S.3d 135 (2015).

        As such, the contractual limitations period is valid and enforceable.

        The contractual limitations period begins from “the date of the happening or occurrence out

 of which the claim arose” – in this case, Hurricane Irma on September 5-6, 2017. As such, this

 matter is time-barred as it was not filed within one year of September 6, 2017.

        Moreover, all of the purported breaches alleged throughout the Complaint occurred well-

 over one year before September 29, 2020, when this case was first filed.

        In its response in opposition to Defendant’s motion to dismiss, Plaintiff argued that two

 purported breaches tolled the limitations period pursuant to the “continuing violation” doctrine,

 referencing two events not even alleged in the complaint – an August 17, 2020 renewed tender of

 abandonment and an August 26, 2020 confirmation of declination of abandonment of the vessel.

 ECF 11. Construing the facts in the light most favorable to the Plaintiff, the Court found these


                                          HORR, SKIPP, & PEREZ, P.A.
               TWO DATRAN CENTER, SUITE 1700 – 9130 SOUTH DADELAND BOULEVARD, MIAMI, FL 33156
Case 0:22-cv-61067-RAR Document 32 Entered on FLSD Docket 03/07/2023 Page 4 of 8



 two purported events constituted new wrongful acts under the continuing violation doctrine which

 could toll the limitations period. ECF 27, pg. 10.

        However, the two events relied on by the Plaintiff in support of its continuing violation

 doctrine argument are legal nullities, as Plaintiff could not legally “re-tender” the vessel as a

 constructive total loss once repairs began. In this instance, repairs commenced two and a half

 years before the purported “renewed tender” in August 2020.

        “Where an insured vessel has not been lost or totally destroyed, but the owner reasonably

 determines that the cost of repairs exceeds the value of the restored vessel, he may recover the full

 insured value of the vessel on condition that he promptly tender her to the underwriter, so that the

 latter may reclaim any residual value.” In re Amended Petition of ALVA S.S. CO., 1979 U.S. Dist.

 LEXIS 12178, at *9-10 (S.D.N.Y. May 24, 1979) (emphasis added).

        Moreover, “the owner must abandon before the repairs are made.” Norton v. Lexington

 Fire, Life & Marine Ins. Co., 16 Ill. 235, 240 (1854) (emphasis added). See also Dickey V. New

 York Ins. Co., 4 Cow. 222, 248 (Where the Supreme Court of Judicature of New York noted that

 “abandonment should be made before repairs[.]”

        When a vessel is characterized as a constructive total loss “the insurer is alerted that the

 insured seeks recovery for constructive total loss because the insured abandons the boat.” Magnum

 Marine Corp., N.V. v. Great Am. Ins. Co., 835 F.2d 265, 267 (11th Cir. 1988). “An insured claiming

 a constructive total loss must usually abandon or tender abandonment to the insurer of whatever

 remains of the insured property.” Rock Transp. Props. Corp. v. Hartford Fire Ins. Co., 312 F.

 Supp. 341, 343 (S.D.N.Y. 1970). “Thus, the insurer would have to pay for a constructive total loss

 if a reasonable probability existed at the time of tender that restoration costs exceeded the boat's

 value at the time of loss.” Magnum Marine Corp, 835 F.2d at 267. (emphasis added). The existing

 facts at the time determine the right to abandon a vessel and “the owner must abandon before the


                                          HORR, SKIPP, & PEREZ, P.A.
               TWO DATRAN CENTER, SUITE 1700 – 9130 SOUTH DADELAND BOULEVARD, MIAMI, FL 33156
Case 0:22-cv-61067-RAR Document 32 Entered on FLSD Docket 03/07/2023 Page 5 of 8



 repairs are made.” Norton v. Lexington Fire, Life & Marine Ins. Co., 16 Ill. 235, 240 (1854)

 (emphasis added). See also Dickey v. New York Ins. Co., 4 Cow. 222, 248 (1825), 1825 N.Y.

 LEXIS 69 (Where the Supreme Court of Judicature of New York noted that “it is contended, and

 with great force, that the abandonment should be made before repairs[.]”.

         As repairs began on or before February 15, 2018, no events following that date could be

 considered a new tender of abandonment or rejection of same. As such, the two August 2020

 dates referenced by Plaintiff in opposition to the motion to dismiss simply cannot be considered

 new or continuing violations that could toll the statute of limitations. Even if the Court considers

 the rejection of Plaintiff’s formal tender of abandonment in June 2019, which was also made after

 repairs began, the Complaint was filed more than one year after said rejection and as such, does

 not act to toll the limitations period in the policy.

         Therefore, all remaining counts in Plaintiff’s Complaint are time-barred, and Defendant is

 entitled to entry of summary judgment in its favor.

 Punitive Damages:

         Plaintiff seeks punitive damages in its prayer for relief in each of the four remaining counts.

 Whether the Court looks to the general maritime law, or New York law, Plaintiff’s prayer for

 punitive damages fails.

         General maritime law does not provide for an award punitive damages for breach of

 contract, unless the conduct constituting the breach is also a tort for which punitive damages are

 appropriate. See Exxon Shipping Co. v. Baker, 554 U.S. 471 (2008); Thyssen, Inc. v. S.S. Fortune

 Star, 777 F.2d 57 (2d Cir. 1985). Here, Plaintiff has not plead any conduct which would rise to the

 level of willful, wanton, or reckless misconduct necessary to support a claim for punitive damages

 under the general maritime law.

         Under New York law, a party seeking punitive damages must plead the following elements


                                           HORR, SKIPP, & PEREZ, P.A.
                TWO DATRAN CENTER, SUITE 1700 – 9130 SOUTH DADELAND BOULEVARD, MIAMI, FL 33156
Case 0:22-cv-61067-RAR Document 32 Entered on FLSD Docket 03/07/2023 Page 6 of 8



 to state a claim for punitive damages: 1) defendant’s conduct must be actionable as an independent

 tort; 2) the tortious conduct must be of the egregious nature set forth in Walker v. Sheldon, 10

 N.Y.2d 401, 404-05 (1961) (listing desecration of a grave, forcible abduction of a minor child, and

 fraud and deceit as examples of egregious tortious conduct); 3) the egregious conduct must be

 directed to the plaintiff; and 4) it must be part of a pattern directed at the public generally. See N.Y.

 Univ. v. Cont'l Ins. Co., 87 N.Y.2d 308, 316 (1995) (citing Rocanova v. Equitable Life Assurance

 Soc'y, 83 N.Y.2d 603, 613 (1994)).

        Punitive damages are not recoverable for an ordinary breach of contract as their purpose is

 not to remedy private wrongs but to vindicate public rights. Rocanova v. Equitable Life Assurance

 Soc'y, 83 N.Y.2d 603, 613 (1994) (citing Garrity v Lyle Stuart, Inc., 40 NY2d 354, 358)). Only

 where the breach of contract also involves a fraud evincing a "high degree of moral turpitude" and

 demonstrating "such wanton dishonesty as to imply a criminal indifference to civil obligations",

 punitive damages are recoverable if the conduct was "aimed at the public generally." Id. (internal

 citation omitted). Punitive damages are only available where the conduct                       constituting,

 accompanying, or associated with the breach of contract is first actionable as an independent tort

 for which compensatory damages are ordinarily available, and is sufficiently egregious under

 the Walker standard to warrant the additional imposition of exemplary damages. Id. Thus, a party

 seeking to recover punitive damages must not only demonstrate egregious tortious conduct by

 which he or she was aggrieved, but also that such conduct was part of a pattern of similar conduct

 directed at the public generally. Id.

        In the instant matter, Plaintiff has not plead any of the requisite egregious conduct, much

 less alleged any such egregious conduct directed to the general public, as is required to sustain a

 prayer for punitive damages under New York law. Plaintiff likewise cannot produce any record

 evidence to support such a claim.


                                          HORR, SKIPP, & PEREZ, P.A.
               TWO DATRAN CENTER, SUITE 1700 – 9130 SOUTH DADELAND BOULEVARD, MIAMI, FL 33156
Case 0:22-cv-61067-RAR Document 32 Entered on FLSD Docket 03/07/2023 Page 7 of 8



        As such, Defendant is entitled to entry of summary judgment as a matter of law in its favor

 on Plaintiff’s prayer for punitive damages.

        WHEREFORE, Defendant respectfully moves for entry of summary judgment in its favor

 and against Plaintiff:

                1. Finding that all counts in the Complaint are time-barred;

                2. Finding that Plaintiff has failed to plead or support a claim for punitive damages;

                    and

                3. For such other relief the Court deems just and proper.

                                                 Respectfully submitted,

                                                 s/Craig P. Liszt
                                                 Jonathan W. Skipp
                                                 Florida Bar No. 710570
                                                 jskipp@admiral-law.com
                                                 Craig P. Liszt
                                                 Florida Bar No. 63414
                                                 cliszt@admiral-law.com
                                                 HORR, SKIPP & PEREZ, P.A.
                                                 Two Datran Center, Suite 1700
                                                 9130 South Dadeland Boulevard
                                                 Miami, FL 33156
                                                 Telephone: (305) 670-2525
                                                 Facsimile: (305) 670-2526
                                                 Attorneys for Defendant




                                          HORR, SKIPP, & PEREZ, P.A.
               TWO DATRAN CENTER, SUITE 1700 – 9130 SOUTH DADELAND BOULEVARD, MIAMI, FL 33156
Case 0:22-cv-61067-RAR Document 32 Entered on FLSD Docket 03/07/2023 Page 8 of 8




                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on March 7, 2023, the foregoing document was filed with the

  Clerk of the Court using CM/ECF and served on Christopher R. Fertig, Esq.,

  Chris.fertig@fertig.com, and Darlene M. Lidondici, Esq., dml@fertig.com, Fertig & Gramling,

  200 Southeast 13th Street, Fort Lauderdale, Florida 33316, Counsel for Plaintiff.


                                                 s/Craig P. Liszt
                                                 Jonathan W. Skipp
                                                 Florida Bar No. 710570
                                                 jskipp@admiral-law.com
                                                 Craig P. Liszt
                                                 Florida Bar No. 63414
                                                 cliszt@admiral-law.com




                                          HORR, SKIPP, & PEREZ, P.A.
               TWO DATRAN CENTER, SUITE 1700 – 9130 SOUTH DADELAND BOULEVARD, MIAMI, FL 33156
